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              EXHIBIT B



                 Summons




              EXHIBIT B
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                                                 Electronically Issued
                                                  12/5/2024 4:32 PM
SUMM
                                                 DISTRICT COURT
                                           CLARK COUNTY,NEVADA

MALCOLM SHEPERD,                          )
                                          )
                               Plaintiff, )
                                          ) Case No.: A-24-907076-C
      VS.
                                          )
                                          ) Dept. No. 14
TESLA,INC.,(a.k.a. TESLA MOTORS INC.) a)
Delaware Corporation; DOES I-X; and, ROE )
BUSINESS ENTITIES I-X,                    ), SUMMONS
                                                 )
                                     Defendants. )
                                                 )
NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU WITHOUT YOUR BEING HEARD
UNLESS YOU RESPOND WITHIN 20 DAYS. READ THE INFORMATION BELOW.

TO THE DEFENDANT(S): A civil Complaint has been filed by the Plaintiff(s) against you for the relief set forth
in the Complaint.
                           TESLA,INC., a Delaware Corporation
    1. If you intend to defend this lawsuit, within 20 days after this Summons is served on you, exclusive of the day of
        service, you must do the following:
       (a) File with the Clerk of tbis Court, whose address is shown below, a formal written response to the
        Complaint in accordance with the rules of the Court, with the appropriate filing fee.
       (b) Serve a copy of your response upon the attorney whose name and address is shown below.

    2. Unless you respond, your default will be entered upon application of the Plaintiff(s) and this Court may enter a
       judgment against you for the relief demanded in the Complaint, which could result in the taking of money or
       property or other relief requested in the Complaint.

    3. If you intend to seek the advice of an attorney in this matter, you should do so promptly so that your
       response may be filed on time.

    4. The State of Nevada, its political subdivisions, agencies, officers, employees, board members, commission
        members and legislators, each have 45 days after service of this Summons within which to file an answer or
        other responsive pleading to the Complaint.

Submitted by:                                                     CLERK        F CQX,fit,1,F.
                                                                                  e
                                                                                  a51
     /s/ James P. Kemp                                             By:
JAMES P. KEMP,ESQ.                                                                                         7    Date
                                                                                t       eXPLItAti
 Nevada Bar No. 006375                                                          zu. • .0; 0,4 •
 KEMP & KEMP                                                                            d'p,

7435 \V. Azure Drive, Suite 110                                                                     't‘
Las Vegas, Nevada 89130
                                                                                    [
                                                                                    '5erlo                mer
(702) 258-1183
 Attorney for Plaintiff
 Malcolm Sheperd


NOTE: When service is by publication, add a brief statement of the object of the action.
     See Rules of Civil Procedure 4(b).



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STATE OF
                                   )ss:                                         AFFIDAVIT OF SERVICE
COUNTY OF

                                 , being duly sworn, says: That at all times herein affiant was and is a citizen of the United
States, over 18 years of age, not a party to nor interested in the proceeding in which this affidavit is made. That affiant
received        copy(ies) of the Summons and Complaint,

on the                  day of                                     , 20         and served the same on the                day of
                         , 20         by:

                                     (Affiant must complete the appropriate paragraph)

1.       Delivering and leaving a copy with the Defendant                                          at (state address)


2.       Serving the Defendant                                                by personally delivering and leaving a copy with
                                                 , a person of suitable age and discretion residing at the Defendant's usual
         place of abode located at: (state address)

                                 (Use paragraph 3 for service upon agent, completing A or 13)

3.       Serving the Defendant                                                             by personally delivering and leaving a
         copy at (state address)


         a.   With                                      as                               ,an agent lawfully designated by
              statute to accept service of process;
         b.   With                                      , pursuant to NRS 14.020 as a person of suitable age and discretion
              at the above address, which address is the address of the resident agent as shown on the current certificate of
              designation filed with the Secretary of State.

4.       Personally depositing a copy in a mail box of the United States Post Office, enclosed in a sealed envelope, postage
         prepaid (Check appropriate method):

                                    Ordinary mail
                                    Certified mail, return receipt requested
                                    Registered mail, return receipt requested

          addressed to the Defendant                                                  at Defendant's last known address which is
         (state address)

COMPLETE ONE OF THE FOLLOWING:

(a)      If executed in this state,"I declare under penalty of perjury that the foregoing is true and correct."


                                                                                              Signature of person making service

(b)      If executed outside of this state, "I declare under penalty of perjury under the law of the State of Nevada that the
         foregoing is true and correct."

                                                                                              Signature of person making service
